Case 1:04-cv-01344-.]DT-STA Document 31 Filed 04/18/05 Page 1 of 8 Page|D 21

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NAT BARKLEY as Next Friend of
Hadie Alsup, an incapacitated person,

Plaintiff,
VS. No. 04-1344-T/An

KINDRED HEALTHCARE, INC.;
ET AL.,

\_/\_/\._/\_/\_/\._/\_/\-./V\_/\_/

Defendants.

 

ORDER GRANTING MOTION TO REMAND

 

PlaintiffNat Barkley,as the Next Friend of I-Iadie Alsup, originally filed this action
in the Circuit Court of Hardeman County, Tennessee, on November 12, 2004. An amended
complaint was filed on November 29, 2004. The defendants removed the action to this
Court on the basis of diversity of citizenship pursuant to 28 U.S.C. § 1441 et seq., arguing
that the non-diverse defendant was fraudulently joined. Plaintiff filed a motion to remand
the action to state court on January 28, 2005. Defendants filed a response on February 14,
2005. The Court subsequently granted leave for plaintiff to file a reply brief.

This case involves allegations of negligence, gross negligence, medical malpractice,
Willful, wanton, reckless, malicious and intentional conduct, and violation of the Tennessee

Adult Protection Act, Tenn. Code Ann. § 71-6-101 et seq. arising out of alleged personal

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Case 1:04-cv-01344-.]DT-STA Document 31 Filed 04/18/05 Page 2 of 8 Page|D 22

injuries suffered by Hadie Alsup during the time she was a resident of Pine Meadows
Healthcare and Rehabilitation Center, from September 2000 until November 8, 2004. The
amended complaint asserts no claims under federal law. The defendants are Kindred
Healthcare, Inc., Kindred Nursing Center Lirnited Partnership d/b/a Pine Meadows
Healthcare and Rehabilitation Center, Kindred Healthcare Services, Inc., Kindred Healthcare
Operating, Inc., and Larry W. Shrader, in his capacity as the Administrator of Pine
Meadows. Both the plaintiff and Shrader are residents of Tennessee.

Under 28 U. S.C. § 1441 , in the absence of federal question jurisdiction, a civil action
filed in a state court may be removed if the federal district court would have had original
jurisdiction and in addition, “only if none of the parties in interest properly joined and served
as defendants is a citizen of the State in which such action is brought.” § 144l(b). Thus,
on the face of the complaint, diversity of citizenship is lacking in this case. However, the
defendants contend that there are no specific factual allegations of negligence or other
tortious acts against Shrader individually Therefore, defendants argue that Shrader was
fraudulently joined, so that his presence in this action cannot defeat diversity jurisdiction
As the removing parties, the burden of establishing fraudulent joinder and the presence of
federal jurisdiction, which is a heavy one, is upon the defendants § Alexander v.
Electronic Data Sys. Co;p., 13 F.3d 940, 948-49 (6th Cir. 1994); Mills v. Electronic Data
Sys. Co;p., 986 F. Supp. 437, 439 (E.D. Mich. 1997).

In Alexander, the Sixth Circuit held that a defendant can establish fraudulent joinder

Case 1:04-cv-01344-.]DT-STA Document 31 Filed 04/18/05 Page 3 of 8 Page|D 23

by showing that there is no “reasonable basis for predicting that the state law might impose
liability on the facts involved.” 13 F.3d at 949 (quoting Bobby J ones Garden Apts., Inc. v.
M, 391 F.2d 172, 176 (5th Cir. 1968)); see also Winburn v. Libertv Mut. Ins. Co.. 933
F. Supp. 664, 666 (E.D. Ky. 1996); Ludwig v. Learjet, Inc., 830 F. Supp. 995, 998 (E.D.
Mich. 1993). “However, if there is a colorable basis for predicting that a plaintiff may
recover against non-diverse defendants,” the case must be remanded to state court. gm

v. American Tobacco Co.. 183 F.3d 488, 493 (6th Cir. 1999); Jerome-Duncan Inc. v.

 

Auto-By-Tel L.L.C., 176 F.3d 904, 907 (6th Cir. 1999). Any disputed questions of fact, or
ambiguities in the controlling state law must be resolved in favor of the non-removing party.
Alexander, 13 F.3d at 949 (citing Carriere v. Sears Roebuck & Co., 893 F.2d 98, 100 (5th
Cir.), cert denied, 498 U.S. 817 (1990)).

In this case, plaintiff alleges that Shrader, as a licensed nursing home administrator,
breached his duty of reasonable care by failing to ensure that appropriate care and services
were provided to, and failing to prevent the neglect of, Ms. Alsup. Plaintiff alleges that this
breach of reasonable care included the failure to train and supervise nurses and nurses’ aides
and failure to hire sufficient nurses and nurses’ aides. As a result of this failure, Ms. Alsup
allegedly was not given the care she required. The amended complaint sets out, in detail,
various acts and omissions that allegedly constituted negligence on the part of Shrader.

The defendants first argue that, under Tennessee law, a manager may not be held

vicariously liable under the doctrine of respondeat superior for the acts of an employee,

Case 1:04-cv-01344-.]DT-STA Document 31 Filed 04/18/05 Page 4 of 8 Page|D 24

citing Parker v. Vanderbilt Univ., 767 S.W.2d 412 (Tenn. Ct. App. 1988). In EM, the
Tennessee Court of Appeals held that the hospital’ s Chief of Anesthesiology, Dr. Alcantara,
could not be held vicariously liable for the negligent acts of a nurse anesthetist working
under protocols that Dr. Alcantara had developed The complaint had alleged no acts of
negligence by Dr. Alcantara himself, he was not present in the operating room during the
operation in question, and did not oversee or direct the nurse anesthetist’s actions. I_d. at
416-17. However, the Court of Appeals recognized that a supervisor could be held liable
“if his personal negligence . . . was the efficient cause or a coefficient cause of the injury.”

ld_. at 418 (quoting Brown & Sons Lumber Co. v. Sessler, 163 S.W. 812, 813-814 (Tenn.

 

1914)).

The defendants contend that there is “no substantive difference” between the position
of Dr. Aleantara in Rar_ker and defendant Shrader in this case. Defendants argue that
plaintiff has alleged no personal acts of negligence against Shrader, merely “passive”
allegations of negligence against him in his capacity as an administrator. The Court
disagrees Plaintiff' s amended complaint does, in fact, contain allegations of personal
negligence by defendant Shrader. Among other acts and omissions, plaintiff alleges that
Shrader failed to adequately supervise, train and evaluate the Pine Meadow nursing staff so
as to ensure that Ms. Alsup was adequately cared for, failed to assign duties to the Pine
Meadow nursing staff consistent with their education and experience and Ms. Alsup’s needs,

and failed to hire sufficient nursing staff to adequately meet Ms. Alsup’s needs. (Amended

Case 1:04-cv-01344-.]DT-STA Document 31 Filed 04/18/05 Page 5 of 8 Page|D 25

Compl. 11 46.)

Defendants also contend that plaintiff is attempting to allege a cause of action
pursuant to certain Tennessee statutes and regulations governing nursing home
administrators Defendants argue that these statutes and regulations do not create a private
right of action under Tennessee law. However, the Court finds nothing in the portion of the
amended complaint setting out the cause of action against Shrader to indicate that plaintiff
is attempting to assert any such private right of action. On the contrary, plaintiff’ s cause of
action is clearly designated as negligence Plaintiff contends that the statutes and regulations
in question, with which Shrader is required to comply, establish a duty and a standard of
conduct for nursing home administrators

The Court has found no reported Tennessee cases, and the parties have cited none,
addressing the duty of care that anursing horne administrator owes to the facility’s residents.
Nevertheless, the Court is unwilling to conclude that there is no reasonable basis for the
Tennessee courts to hold that a nursing home administrator owes a duty to the residents of
that facility to provide adequate care through compliance with applicable statutes and
regulations Consequently, the Court finds that there is a colorable basis for predicting that
the plaintiff could recover against Shrader, and that he was not fraudulently joined.l

Plaintiff’ s motion to remand is GRANTED and this case is hereby REMANDED to

the Circuit Court of Hardeman County, Tennessee, at Bolivar. The Clerk of Court is

 

l Given this ruling, it is unnecessary to address plaintist contention that violation of the applicable
statutes and regulations also may constitute negligence per se.

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Case 1:04-cv-01344-.]DT-STA Document 31 Filed 04/18/05 Page 6 of 8 Page|D 26

directed to prepare a judgment accordingly.

The Court also notes that on April 6, 2005, plaintiff filed a motion to reconsider
and/or appeal the Magistrate Judge’s partial denial of his motion to file a second amended
complaint The determination of whether the Magistrate Judge’ s ruling should be modified
will be deferred to the state court.

IT IS SO ORDERED.

nw

JAM D. TODD
UNITED STATES DISTRICT JUDGE

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ESSEE

 

Darrell E. Baker

BAKER & WH[TT PLLC
6800 Poplar Ave.

Ste. 205

l\/lemphis7 TN 38138

Darrell E. Baker

BAKER & WH[TT PLLC
6800 Poplar Ave.

Ste. 205

l\/lemphis7 TN 38138

Brian Reddick

WILKES & MCHUGH, P.A.
425 West Capitol Avenue
Ste. 3500

Little Rock7 AR 72201

Linda Fulghum

Hardeman County Courthouse
100 N. Main

Bolivar, TN 38008

F. Laurens Brock

CHAMBLISS BAHNER & STOPHEL
Two Union Square

1000 Tallan Bldg.

Chattanooga, TN 37402

Cameron C. Jehl

WILKES & McHUGH- Little Rock
425 West Capitol Ave.

Ste. 3500

Little Rock7 AR 72201

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WILKES & McHUGH- Little Rock
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Ste. 3500

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Two Union Square

1000 Tallan Bldg.

Chattanooga, TN 37402

Brian Reddick

WILKES & MCHUGH, P.A.
425 West Capitol Avenue
Ste. 3500

Little Rock7 AR 72201

Honorable J ames Todd
US DISTRICT COURT

Filed 04/18/05 Page 8 of 8 Page|D 28

